Case 16-34616-JKS     Doc 11     Filed 01/24/17 Entered 01/24/17 14:26:48                Desc Main
                                 Document     Page 1 of 2



       43618
       JOHN R. MORTON, JR.
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       Suite 301
       Moorestown, NJ 08057
       Attorney for Daimler Trust
       JM5630___________________________


                                                                UNITED STATES
                                                                BANKRUPTCY COURT FOR
                                                                THE DISTRICT OF NEW
                                                                JERSEY

         IN RE:         CHRISTINE CRANDON
                        VINCENT J. CRANDON


                                                                CHAPTER: 7
                                                                CASE NO.: 16-34616 (JKS)
                                                                HEARING DATE:


                                                                NOTICE OF APPEARANCE
                                                                AND REQUEST FOR ALL
                                                                NOTICES, PLAN AND
                                                                DISCLOSURE STATEMENTS


        Daimler Trust hereby enters its appearance and the law firm of John R. Morton, Jr.,

        Esquire, pursuant to Fed R Bankr P 9010, hereby enters their appearance as attorneys for

        Daimler Trust with regard to all matters and proceedings in the above captioned case,

        showing counsel’s name, office address and telephone number as follows:

        John R. Morton, Jr., Esquire
        110 Marter Avenue, Suite 301
        Moorestown, NJ 08057
        (856)866-0100


        Daimler Trust, pursuant to Fed R Bankr P 2002, hereby requests that all notices required

        to be given under Fed R Bankr P 2002, including notices under Fed R Bankr P 2002(I),

        that, but for this Request, would be provided only to committees appointed pursuant to
Case 16-34616-JKS      Doc 11     Filed 01/24/17 Entered 01/24/17 14:26:48                    Desc Main
                                  Document     Page 2 of 2


        the Bankruptcy Code or their authorized agents, be given to Daimler Trust, Inc. by due

        service upon its undersigned attorneys, John R. Morton, Jr., Esquire, at the address stated

        above and also to it at the following address:

        Daimler Trust
        P.O. Box 562088, Suite 900 North
        Dallas, TX 75247

        Daimler Trust, pursuant to Fed R Bankr P 3017(a), further requests that all plans and

        disclosure statements filed herein by any party be duly served upon it and its undersigned

        attorneys.



                                                         /s/   John R. Morton, Jr. __
                                                               John R. Morton, Jr., Esquire
                                                               Attorney for Daimler Trust
        Dated:
